 

Case 3:15-cr-00319-RS Document 156 Filed 09/20/17 Page 1 of 4

 

 

 

 

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UNITED STATES oF AMERICA,
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(ase. no. 12-COlL-/0953, Pridaes v. Eaposite)

 

 

 

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